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Alfred R. Fabricant
FABRICANT LLP
411 Theodore Fremd Avenue,
 Suite 206 South
Rye, New York 10580
Tel. (212) 257-5797
Fax (212) 257-5796
ffabricant@fabricantllp.com

Attorneys for Defendant
Taasera Licensing LLC

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


PALO ALTO NETWORKS, INC.,                                  Case No. 1:22-cv-02306-ER/SDA

                              Plaintiff,                   NOTICE OF MOTION

       v.                                                  ORAL ARGUMENT REQUESTED

TAASERA LICENSING LLC and QUEST PATENT
RESEARCH CORPORATION,

                              Defendants.



       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in Support

of Defendant Taasera Licensing LLC’s Motion to Dismiss Palo Alto Networks, Inc.’s (“Palo Alto”

or “Plaintiff”) First Amended Complaint (D.I. 21) for Declaratory Judgment of Non-Infringement

and all prior pleadings and proceedings had herein, Defendant Taasera Licensing LLC hereby

moves this Court, at a time and date determined by the Court, for an order (i) pursuant to 12(b)(2)

and 12(b)(6) of the Federal Rules of Civil Procedure (a) granting dismissal of Plaintiff Palo Alto

Networks, Inc. First Amended Complaint (D.I. 21) for Declaratory Judgment of Non-Infringement

relative to Defendant Taasera Licensing LLC in its entirety, and (b) a determination of no alter ego

exists between defendants Taasera Licensing LLC and Quest Patent Research Corporation, and
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(ii) granting such other and further relief as the Court deems just and proper.

Dated: Rye, New York
       June 23, 2021                          Respectfully submitted,

                                              FABRICANT LLP


                                              By: /s/ Alfred R. Fabricant
                                                    Alfred R. Fabricant

                                              Attorneys for Defendant
                                              Taasera Licensing LLC


TO:    Counsel for Defendant (by ECF)
